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 11   Backgrid USA, Inc., Splash News and
      Picture Agency, LLC, and Xposure Photo
 12   Agency, Inc.
 13                        UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15
      ENTTECH MEDIA GROUP LLC,                 Case No.: 2:20-cv-06298 JWH (Ex)
 16                                            Hon. John W. Holcomb
                    Plaintiffs,
 17                                            NOTICE OF REQUEST TO CROSS-
            v.
                                               EXAMINE ROBERT TAULER
 18   OKULARITY, INC.; JON NICOLINI;           PURSUANT TO LOCAL RULE 7-8
 19   BACKGRID USA, INC.; SPLASH
      NEWS AND PICTURE AGENCY,
 20   LLC; AND XPOSURE PHOTO
 21   AGENCY, INC.
 22                 Defendants.
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                 NOTICE OF REQUEST TO CROSS-EXAMINE ROBERT TAULER
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  1         Pursuant to Local Rule 7-8, Defendants and Cross-Complainants Backgrid
  2   USA, Inc., Splash News and Picture Agency, LLC, and Xposure Photo Agency, Inc.
  3   request that they be given an opportunity to cross-examine Robert Tauler at the Order
  4   to Show Cause hearing set for December 11, 2020 at 9 a.m. The Order to Show Cause
  5   Re Sanctions Under Rule 11(c)(3) of the Federal Rules of Civil Procedure (Dkt. 54)
  6   expressly invited Defendants’ attention to their ability to invoke the procedures of
  7   Local Rule 7-8.
  8
  9   Dated: November 27, 2020               ONE LLP
 10
                                             By: /s/ Joanna Ardalan
 11                                              Joanna Ardalan
 12                                              Peter R. Afrasiabi
 13                                               Attorneys for Plaintiff
 14                                               Backgrid USA, Inc.; Splash News and
                                                  Picture Agency, LLC, Xposure Photo
 15                                               Agency, Inc.
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                  NOTICE OF REQUEST TO CROSS-EXAMINE ROBERT TAULER
Case 2:20-cv-06298-JWH-E Document 64 Filed 11/27/20 Page 3 of 3 Page ID #:1178



  1                                  PROOF OF SERVICE
  2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  3         I am employed in the County of Los Angeles, State of California. I am over
      the age of 18 and not a party to the within action; my business address is 9301
  4   Wilshire Blvd., Penthouse, Beverly Hills, California 90210.
  5          On November 27, 2020, I caused the document(s) listed below to be served
      to the address(es) and by the method of service described as follows:
  6
      NOTICE OF REQUEST TO CROSS-EXAMINE ROBERT TAULER
  7   PURSUANT TO LOCAL RULE 7-8
  8
  9    Telephone: (310) 590-3927
 10    Email: rtauler@taulersmith.com

 11    Attorneys for Plaintiff
 12    Enttech Media Group LLC
 13   [X]   (BY EMAIL)
 14         I declare that I am a member of the bar of this court.
 15         Executed on November 27, 2020 at Beverly Hills, California.
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 18
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                                                    Joanna Ardalan
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                                        PROOF OF SERVICE
